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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA




HINDU AMERICAN FOUNDATION
910 17th Street NW, Suite 316A
Washington, DC 20006,
                                              Civil Action No.
                  Plaintiff,
                                              COMPLAINT FOR DAMAGES
            v.

SUNITA VISWANATH                              JURY TRIAL DEMANDED
361 Warren Street
Brooklyn, New York 11201-6412;
RAJU RAJAGOPAL
6456 Mystic Street
Oakland, California 94618-1347;
RASHEED AHMED
6321 W. Dempster Street, Suite #295
Morton Grove, Illinois 60053;
JOHN PRABHUDOSS
2055 26th Street S, Apt. 401
Arlington, Virginia 22206-2892;
AUDREY TRUSCHKE
1404 Grand Street, Apt. 4B,
Hoboken, New Jersey 07030-2398; AND
DOES 1-20,

                  Defendants.
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       Plaintiff Hindu American Foundation, by and through its undersigned attorneys, alleges

as follows:

                                        INTRODUCTION

       1.       Plaintiff Hindu American Foundation (hereinafter “Plaintiff” or “HAF”) is a

wholly independent, non-partisan and non-profit American organization that was founded by

second-generation Hindu Americans born and raised in the United States. HAF is committed to

and actively engaged in promoting dignity, mutual respect, pluralism, and the greater good of all.

HAF seeks to serve Hindu Americans across all sampradaya (Hindu religious traditions),

regardless of race, color, national origin, ancestry, citizenship, gender, sexual orientation, age

and/or disability. As a non-profit, HAF is largely dependent on the generosity of donors to

operate.

       2.       Defendants Sunita Viswanath, Raju Rajagopal, Rasheed Ahmed, John Prabhudoss

and Audrey Truschke (collectively, “Defendants”) conspired with non-party Raqib Hameed

Naik, and others, to publish false, defamatory and highly damaging statements about HAF.

Defendants control, operate, act on behalf of, and/or are otherwise affiliated with, one or more

organizations – Hindus for Human Rights (“HfHR”), Indian American Muslim Council

(“IAMC”), and Federation of Indian American Christian Organizations (“FIACONA”) – that

have a documented history of attacking and/or disparaging HAF.

       3.       The false and defamatory statements that give rise to this lawsuit were published

in two articles on Al Jazeera Media Company’s U.S. facing website, AlJazeera.com. Each of the

Defendants was directly quoted in the articles, conspired to cause false and defamatory

statements to be made therein, and/or republished those statements. The false and defamatory

statements contain assertions that HAF is a “US-based front organisation” for India-based Hindu
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nationalist organizations, which are allegedly supremacist and highly controversial; is a

subsidiary of those organizations in India which Defendants have accused of egregious human

rights abuses; and that HAF has “misappropriat[ed]” and “funneled” U.S. Government COVID

relief funds to those same organizations. In a further coordinated effort to call attention to these

false and defamatory statements and defame HAF, Defendant Truschke also published false and

defamatory statements contending that HAF, among other things, has “participated in a recent

coordinated effort attacking [her]…involv[ing] targeted harassment of [herself] and others and

violent threats” which is a “huge red flag for a US-based organization.” These statements, and

many others, are unequivocally false, defamatory and highly damaging to HAF.

       4.       Defendants dislike the political party currently in power in India (which is often

labeled a “Hindu nationalist” party), and have political disagreements with the Indian

government, especially with respect to its alleged treatment of Muslims and other religious

minorities. However, rather than merely airing those political disagreements, they concocted a

scheme to defame groups even outside India whom they perceive to be “pro-Indian government”

and “pro-Hindu”. Accordingly, they decided to target HAF with a campaign of lies and false

statements, attempting to discredit HAF’s educational and advocacy efforts. Defendants

routinely conspire to spread mistruths about HAF, in an effort to encourage discrimination

against them, and impede HAF’s ability to effect change in accordance with HAF’s guiding

principles. To further their aim, and perpetuate the conspiracy, Defendants use each other as

corroborating sources.

       5.       The conspiracy amongst Defendants to defame HAF also furthers their own

interests, seeking to deflect criticism of their own actions and those of their affiliated
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organizations, and lend further credibility to their own respective organizations, and solicit

further interest and donations on their own behalf.

       6.       Defendants’ conduct has injured, and will cause further substantial injury, to

HAF’s reputation and ability to fundraise.

                                             PARTIES

       7.       Plaintiff HAF is an American non-profit organization headquartered in

Washington, D.C. HAF is wholly independent and non-partisan, and has no affiliation or ties to

any organizations or political parties in the United States or abroad.

       8.       On information and belief, Defendant Sunita Viswanath (“Defendant Viswanath”)

is a Co-Founder and member of the Board of Directors of HfHR, and resides in Brooklyn, New

York and Taos, New Mexico.

       9.       On information and belief, Defendant Raju Rajagopal (“Defendant Rajagopal”) is

a Co-Founder and member of the Board of Directors of HfHR, and resides in Oakland,

California and Chennai, India.

       10.      On information and belief, Defendant Rasheed Ahmed (“Defendant Ahmed”) is

the Executive Director of IAMC, and resides in or around Chicago, Illinois.

       11.      On information and belief, Defendant John Prabhudoss (“Defendant Prabhudoss”)

is the Chairman of FIACONA, and resides in Arlington, Virginia.

       12.      On information and belief, Defendant Audrey Truschke (“Defendant Truschke”),

works for Rutgers, The State University of New Jersey, and resides in Hoboken, New Jersey.

       13.      HAF is presently unaware of the identity of the defendants sued herein as DOES

1-20, and will amend this complaint to identify them once HAF learns of their identities.
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Defendants Viswanath, Rajagopal, Ahmed, Prabhudoss, Truschke and DOES 1-20 are

collectively referred to herein as “Defendants.”

       14.     On information and belief, Defendants, and each of them, were and are the agents,

licensees, employees, partners, joint-venturers, co-conspirators, owners, principals, and

employers of the remaining Defendants and each of them are, and at all times mentioned herein

were, acting within the course and scope of that agency, license, partnership, employment,

conspiracy, ownership, or joint venture. On further information and belief, the acts and conduct

herein alleged of each of the Defendants were known to, authorized by and/or ratified by the

other Defendants, and each of them.

       15.     Whenever in this complaint reference is made to any act of a defendant, such

allegation shall be deemed to mean the acts of the defendants named in the particular cause of

action, and each of them, acting individually, jointly and severally.

                                JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1332(a)(1) because the Plaintiff and Defendants are citizens of different states and the amount

in controversy exceeds $75,000. HAF has lost and/or expended and/or will lose and/or expend at

least $75,000 as a result of events that occurred after Defendants executed their conspiracy to

defame HAF as outlined herein.

       17.     This Court has personal jurisdiction over Defendants because they have minimum

contacts with Washington, District of Columbia. Such minimum contacts include their

purposeful conduct in making and conspiring to publish defamatory statements intended to injure

an organization located in the District of Columbia.
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       18.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2), in that a

substantial part of the events, including the publication of the defamatory statements, giving rise

to this complaint occurred here and because HAF is domiciled in this District.

                                  FACTUAL BACKGROUND

       19.     HAF is a non-partisan and non-profit American organization that is committed to

educating the public about Hindus and Hinduism and advocating for policies and practices that

ensure the well-being of all people and the planet. HAF works directly with educators and

journalists to ensure accurate understanding of Hindus and Hinduism, and with policymakers and

key stakeholders to champion issues of concern to Hindu Americans, including defending civil

and human rights and protecting all living beings. As a 501(c)(3) non-profit under the IRS, HAF

is a regulated advocacy group dedicated to a charitable purpose.

       20.     Defendants Viswanath, Rajagopal, Ahmed and Prabhudoss regularly work

together to further their shared agenda, and control and/or operate a group of affiliated

organizations – HfHR, IAMC and FIACONA – that have a history of coordinated attacks on

HAF. IAMC is the “closest organizational partner” of HfHR, according to a recent statement by

Defendant Viswanath. On information and belief, HfHR, IAMC and FIACONA are all members

of the purported Coalition to Stop Genocide in India (the “Coalition”), which was used by

Defendants as a conduit to make certain false and defamatory statements at issue herein, and to

further Defendants’ common scheme to defame HAF. Defendant Prabhudoss (FIACONA) and

Defendant Rajagopal (HfHR) also serve as co-chairs for the India Working Group of the

International Religious Freedom Roundtable.

       21.     Defendant Truschke, a Professor of South Asian history at Rutgers University,

has substantial ties to the other Defendants and their organizations, including speaking at a recent
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event hosted by IAMC in January 2021. Defendants caused their respective organizations to

sign a letter to Rutgers University in March 2021 supporting Defendant Truschke against various

criticisms by student groups. On or around April 16, 2021, Defendants Viswanath and

Rajagopal authored an opinion article in support of Defendant Truschke, which was published on

the website, TheWire.in. This opinion article was subsequently republished on April 17, 2021 on

IAMC’s website. IAMC’s Advocacy Director, non-party Ajit Sahi, serves on the Board of

Advisors with Defendant Truschke, for another member of the Coalition, Students Against

Hindutva Ideology. Defendant Viswanath is also a Co-Founder and Executive Board member of

Sadhana: Coalition of Progressive Hindus, and has used this additional “coalition” to support

Defendant Truschke, disparage HAF and partner with IAMC.

        22.     On information and belief, non-party Raqib Hameed Naik (“Mr. Hameed Naik”),

the author of the first article at issue, also has substantial ties to Defendants and their respective

organizations, which include speaking at public events organized by those organizations and

serving as a member of IAMC’s executive team for News and Media Outreach.

        23.     Defendants knowingly, willfully and intentionally conspired, agreed and

coordinated amongst themselves to defame HAF in two articles published on AlJazeera.com.

Defendants then caused their respective organizations to republish and provide alleged

corroboration of the defamatory statements, resulting in further harm to HAF.

        24.     On or about April 2, 2021, Defendants caused multiple false and defamatory

statements to be published in the “First Story,” written by non-party Mr. Hameed Naik, on

AlJazeera.com, which was entitled “Hindu right-wing groups in US got $833,000 of federal

COVID fund [:] Five groups linked to Hindu nationalist organisations in India received direct

payments and loans in federal relief fund.” The First Story falsely refers to HAF as a “Hindu
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right-wing group in [the] US” that is “linked to Hindu nationalist organisations in India”. The

First Story further falsely states that HAF has “ties to Hindu supremacist and religious groups”.

       25.     The original version of the April 2, 2021 First Story contains the following false

and defamatory statements of and concerning HAF (“First Story Defamatory Statements”):

               a. Defendant Viswanath:

                   i. “[Ms.] Viswanath, co-founder of Hindus for Human Rights, expressed

                      concern that the US pandemic relief funds might end up furthering hate

                      campaign[sic] against Muslims and other minorities in India.”

                  ii. “‘All these organisations [including HAF] are sympathetic to the Hindu

                      supremacist ideology. Their parent organisations continue to spread hatred

                      in Hindu communities towards Muslims and Christians,’…”

                  iii. “‘Any American non-profit that perpetuates Islamophobia and other forms

                      of hate should not receive federal relief funds in any form.’”

       26.     The First Story Defamatory Statements were also republished in connection with

additional false and defamatory statements as follows:

               a. Defendant Ahmed:

                   i. On or around April 3, 2021, Defendant Ahmed caused IAMC to post the

                      First Story and a hyperlink along with the following false and defamatory

                      statement, among others, on its Twitter account and on its website:

                          1. “Experts have raised concerns that the US pandemic relief funds

                              received by Hindu rightwing groups might end up furthering hate

                              campaign against Muslims and other minorities in India,

                              @raqib_naik reports in @AlJazeera_World [¶] Link:
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                               https://www.aljazeera.com/news/2021/4/2/hindu-right-wing-

                               groups-in-us-got-833000-of-federal-covid-fund[.]”

                   ii. On or around April 17, 2021, Defendant Ahmed caused IAMC to

                       republish on its website the First Story, including each of the First Story

                       Defamatory Statements.

             b. Defendant Truschke: On or about April 2, 2021, Defendant Truschke posted the

                First Story along with the following false and defamatory statement, among

                others, in a thread on her Twitter account:

                    i. “To add a personal note -- Some of the groups mentioned here, especially

                       HAF, have participated in a recent coordinated effort attacking me. [¶]

                       That effort has involved targeted harassment of me and others and violent

                       threats. [¶] This is a huge red flag for a US-based organization.”

       27.      In a strategic and coordinated effort to amplify the First Story Defamatory

Statements, Defendants Viswanath, Rajagopal, and Ahmed, acting by and through their

respective organizational platforms, and Defendant Truschke, each disseminated and/or

republished the First Story on additional occasions. Defendants Viswanath and Rajagopal

caused HfHR to post a link to the First Story on its website along with republications and

commentary on its Twitter. Defendant Ahmed caused IAMC to post the First Story multiple

times on its Twitter along with quotes and commentary in addition to the republication on its

website. Defendant Truschke posted the First Story on her Twitter numerous times along with

direct statements as well as quotes from the First Story.

       28.      In furtherance of Defendants’ conspiracy, on or about April 8, 2021, Defendants

caused additional false and defamatory statements to be published in the “Second Story” on
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AlJazeera.com, which was entitled “Call for US probe into Hindu right-wing groups getting

COVID fund [:] Following an Al Jazeera report, US-based Coalition to Stop Genocide in India

demands investigation into federal funds given to ‘sponsor hate’.” The Second Story includes

many false and defamatory statements of and concerning HAF made by the Coalition. On

information and belief, Defendants caused these statements to be attributed to the Coalition, of

which their respective organizations are members that have a controlling interest, had approval

of the statements before publication, and are therefore liable for those statements.

       29.      The April 8, 2021 Second Story contains the following false and defamatory

statements of and concerning HAF (“Second Story Defamatory Statements”) (collectively with

the First Story Defamatory Statements, the “Defamatory Statements”):

             a. Defendant Ahmed:

                    i. “US taxpayers’ money being used to keep hate groups in business is

                       absolutely unacceptable and should concern all who believe in fairness,

                       justice and government accountability[.]”

             b. Defendant Rajagopal:

                    i. “‘The rise of HAF and other organisations linked with Hindutva has

                       emboldened Hindu supremacist organizations in India, while also stifling

                       the moderate Hindu voices here in the US[.]”

             c. Defendant Prabhudoss:

                    i. “‘Government watchdog groups as well as human rights organisations

                       need to take serious note of the misappropriation of COVID funding by

                       Hindu supremacist groups the United States,’…”
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 d. The Coalition:

        i. “[T]he Hindu groups that received the funds have ‘existential links’ with

           the Rashtriya Swayamsevak Sangh (RSS), the ‘fountainhead of Hindu

           supremacist ideology’ and ‘ideological parent’ of Prime Minister Narendra

           Modi’s Bharatiya Janata Party (BJP).”

       ii. “[T]he five groups – Vishwa Hindu Parishad of America (VHPA), Ekal

           Vidyalaya Foundation, Infinity Foundation, Sewa International and Hindu

           American Foundation (HAF) – are ‘US-based front organisations for

           Hindutva, the supremacist ideology that is the driving force behind much

           of the persecution of Christians, Muslims, Dalits and other minorities in

           India’.”

       iii. “There are families across America still reeling from the human and

           economic toll of COVID-19, while groups [like HAF] that seem to be

           essentially serving as front organizations for a violent and supremacist

           ideology are raking in the windfall from federal COVID funding.”

       iv. “[T]he RSS has been ‘directly involved in orchestrating anti-Christian and

           anti-Muslim pogroms and instigating terror attacks, as part of a relentless

           campaign to subvert India’s secular moorings and turn it into a Hindu

           authoritarian state where minorities are relegated to the status of second

           class citizens’.”

       v. “[The RSS’s] members and affiliated organisations have been implicated

           in countless acts of massacres, ethnic cleansing, terrorism, forced-
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                      conversions and other forms of violence against religious minorities in

                      India,’...”

                 vi. “‘A comprehensive probe and corrective action is needed to ensure that

                      hard-working American taxpayers’ money is not funneled towards

                      sponsoring hate, persecution and the slow genocide of minorities and

                      marginalised communities in India.’”

       30.    The Second Story Defamatory Statements were also republished with additional

false and defamatory statements as follows:

              a. IAMC: On or around April 17, 2021, Defendant Ahmed caused IAMC to

                  republish as a “Press Release” on its website a version of the Second Story,

                  which included each of the Second Story Defamatory Statements. This Press

                  Release is attributed to the Coalition, further amplifying the intended outcome

                  of Defendants’ conspiracy by adding another alleged layer of apparent

                  corroboration. This Press Release also stated: “The ‘Coalition to Stop

                  Genocide in India’ is committed to ensuring that American institutions and

                  discourse are safeguarded from the virulent Hindutva ideology. To that end,

                  the coalition will continue to expose Hindutva front organizations in the US

                  and their role in normalizing the human rights abuses and religious freedom

                  violations in India.”

       31.    As with their combined efforts regarding the First Story, Defendants Viswanath,

Rajagopal and Ahmed, by and through their respective organizational platforms, and Defendant

Truschke, engaged in strategic efforts to amplify the Second Story Defamatory Statements.

Defendants Viswanath and Rajagopal caused HfHR to post on its website a link to the Second
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Story and Defendant Truschke posted on Twitter a link to the Second Story along with

commentary. Defendant Ahmed caused IAMC to make numerous posts on its Twitter regarding

the Second Story along with links to the same. In particular, on or around April 8, 2021,

Defendant Ahmed caused IAMC to post on its Twitter the following statement, among others,

illustrating its coordinated efforts with the other Defendants, including Defendant Truschke:

               a. A Retweet of Defendant Truschke’s Twitter post of the Second Story along

                  with the false and defamatory statement, “Indian Americans of diverse

                  backgrounds call for probe of US-based Hindu nationalist groups. [¶] As a

                  scholar of South Asia, I can attest that some of these groups spread hate & use

                  intimidation tactics. [¶] These things are dangerous and unwelcome on US

                  soil[.] https://www.aljazeera.com/news/2021/4/2/hindu-right-wing-groups-in-

                  us-got-833000-of-federal-covid-fund[.]”

               b. The Second Story along with the following, “@AudreyTruschke

                  @FriedrichPieter @simran @arjunsethi81 @suchitrav @shailjapatel

                  @mitalisaran @sonipaul @BasharatPeer @FareedZakaria @RashidaTlaib

                  @RepDebHaaland @BradSherman @RoKhanna @RepJayapal

                  https://www.aljazeera.com/news/2021/4/8/call-for-us-probe-into-hindu-right-

                  wing-groups-getting-covid-fund [.]”

       32.     As further confirmation of the conspiracy, on or around April 11, 2021, on

information and belief, Defendant Ahmed arranged for Mr. Hameed Naik to appear at IAMC’s

virtual strategic meeting of its Executive Team to “discuss [IAMC’s] advocacy strategy for the

next quarter.” On information and belief, Mr. Hameed Naik was listed on the related agenda

under the designation, “News & Media Outreach”.
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       33.      On or around April 13, 2021, Defendant Truschke posted a series of false

statements of and concerning HAF on her Twitter:

                a. “Here we have a board member [Rajiv Pandit] of the Hindu American

                   Foundation -- known to promote Hindutva ideology in the US -- employing aa

                   anti-Semitic trope to attack the authors of a recent opinion piece on human

                   rights abuses in India…”

                b. “On the Hindu American Foundation’s Hindutva agenda and its long-standing

                   opposition to human rights concerns: http://www.coalitionagainstgenocide.org

                   /press/cag.pr.07apr2014.php[.]” This hyperlink relates to a post from an

                   earlier version of the Coalition, named the Coalition Against Genocide, dated

                   April 7, 2014, and entitled, “Hindu American Foundation exposed as foe of

                   human rights and religious freedom [:] Indian American coalition condemns

                   HAF’s sophistry ‘explaining’ Hindu nationalist violence against minorities in

                   India[.]”

                c. “…Full disclosure that the HAF Board member in question [Rajiv Pandit] has

                   been going after me, along with a growing list of people, in recent days[.]”

       34.      On or around April 21, 2021, Defendant Prabhudoss tweeted the following

statement on his Twitter:

             a. “Recently realized that the @HinduAmerican just confirmed and acknowledged

                through its own lawyers that they are a Hindu supremacist organization in the US

                operating as a charity. Wow! Who would have thought that!!”

       35.      Defendants’ coordinated attacks on HAF are intended to damage, and have in fact

caused substantial damage, to HAF’s reputation and its ability to raise funds. These attacks
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portray HAF as contributing to and/or perpetuating heinous and despicable crimes against

humanity – acts of massacres, ethnic cleansing, terrorism, forced-conversions, and other forms of

violence against, and subjugation of, religious minorities in India. The Defamatory Statements

falsely claim that HAF not only serves as a “front” for their “parent” alleged Hindu nationalist

and supremacist organizations, but that it “misappropriate[d]” and “funneled” U.S. Government

COVID relief funds to those organizations. The Defamatory Statements falsely accuse HAF of

participating in a coordinated effort to attack Defendant Truschke, including falsely stating that

HAF made violent threats against her.

       36.     To the contrary, HAF has no affiliation or ties to any organizations or political

parties in the U.S. or abroad, and is not a member or subsidiary of Rashtriya Swayamsevak

Sangh (“RSS”) or any alleged Hindu nationalist or supremacist group in India. HAF does not

contribute any funds, whether COVID relief or otherwise, to in any way subvert minorities

and/or spread Hindu nationalism and supremacy in India. HAF does not provide money to RSS

or anyone affiliated with RSS. No HAF staff or board member, or any other person authorized

to speak on behalf of the organization has made or been involved in making violent threats

against Defendant Truschke. These false accusations are defamatory per se and are highly

damaging to HAF. They have caused, or will cause substantial harm to HAF, including lost

donations in excess of $75,000.

       37.     Defendants caused to be published and made and/or republished the false

statements with actual malice. There are extensive publicly available and readily accessible

financials and other documents that directly contradict the Defamatory Statements and establish

that no funds were provided by HAF to any alleged Indian nationalist or supremacist

organizations. HAF has a page on its website specifically dedicated to its financials, which
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offers its Form 990s, Audited Financial Statements, reports on “Your Dollars in Action,” a video

regarding its Annual Report, the more recent editions of the Semi-Annual Newsletter, and a

Statement on Grants Issued ensuring compliance with the Office of Foreign Assets Control

(OFAC) of the US Department of the Treasury.

       38.     As a tax-exempt non-profit, HAF is required to annually submit Form 990s to the

IRS, which document HAF’s mission, exempt and other activities, finances, governance,

compliance with certain federal tax filings and requirements, and compensation paid to certain

persons. These filings, which must be made public, ensure that non-profits like HAF conduct

their organization in a manner that is consistent with its public responsibilities. They include

detailed breakdowns and schedules of financials such as: (1) Compensation of Officers,

Directors, Trustees, Key Employees, Highest Compensated Employees, and Independent

Contractors; (2) Statement of Revenue; (3) Statement of Functional Expenses; (4) Balance Sheet;

(5) Reconciliation of Net Assets; (6) Schedule of Contributors; (7) Political Campaign and

Lobbying Activities; (8) Supplemental Financial Statements; (9) Statement of Activities Outside

of the United States; and (10) Grants and Other Assistance to Organizations, Governments, and

Individuals in the United States. These Form 990s document HAF’s compliance with the

lobbying restrictions for 501(c)(3) non-profits. Further, HAF’s financials have been annually

reviewed by a third party controller and audited by a third party accounting firm for the past five

(5) years, the most recent Reports of which are publicly available on HAF’s website.

       39.     HAF’s Form 990s are available on its website and on GuideStar.org, a watchdog

platform regarding charities. HAF has proudly been awarded the 2021 Platinum Seal of

Transparency, the highest level of recognition offered by GuideStar, due to HAF’s extensive

reporting on contact and organizational information, in-depth financial data, qualitative metrics
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about goals, strategies, and capabilities, and quantitative results and progress towards achieving

HAF’s mission.

        40.      Because there were obvious reasons to doubt the accuracy of the Defamatory

Statements, Defendants had an obligation to verify the truth, which they failed to do, thereby

demonstrating that they published the Defamatory Statements with actual malice.

                                       FIRST CAUSE OF ACTION

      Defamation Against Defendants Viswanath, Rajagopal, Ahmed and Prabhudoss

        41.      HAF hereby re-alleges each allegation in Paragraphs 1 through 40 as though fully

set forth herein.

        42.      Defendants’ made false and defamatory statements that HAF is, among other

things, a “US-based front organisation” for India-based Hindu nationalist organizations, which

are allegedly supremacist and highly controversial; is a subsidiary of those organizations in India

which Defendants have accused of egregious human rights abuses; and that HAF has

“misappropriate[ed]” and “funneled” U.S. Government COVID relief funds to those same

organizations.

        43.      Defendants made and/or republished such statements with actual malice.

        44.      As a result of such statements, HAF has suffered, or will suffer, lost donations in

an amount to be proven at trial, and which exceed $75,000.

        45.      Defendants’ conduct was malicious, fraudulent, outrageous, and reckless, thereby

justifying an award of punitive damages.



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                                 SECOND CAUSE OF ACTION

                             Defamation Against Defendant Truschke

        46.     HAF hereby re-alleges each allegation in Paragraphs 1 through 40 as though fully

set forth herein.

        47.     Defendant Truschke’s statements that HAF, among other things, has “participated

in a recent coordinated effort attacking [her]…involv[ing] targeted harassment of [herself] and

others and violent threats” which is a “huge red flag for a US-based organization” are false and

defamatory, and highly damaging to HAF.

        48.     Defendant Truschke made and/or republished such statements with actual malice.

        49.     As a result of such statements, HAF has suffered, or will suffer, lost donations in

an amount to be proven at trial, and which exceed $75,000.

        50.     Defendant Truschke’s conduct was malicious, fraudulent, outrageous, and

reckless, thereby justifying an award of punitive damages.

                                  THIRD CAUSE OF ACTION

                             Civil Conspiracy Against All Defendants

        51.     HAF hereby re-alleges each allegation in Paragraphs 1 through 40 as though fully

set forth herein.

        52.     Defendants knowingly, willfully and intentionally conspired, agreed and

coordinated amongst themselves to defame HAF, by causing false and disparaging statements

about HAF to be published in the First and Second Stories, and republished thereafter.

        53.     As a direct and proximate cause of Defendants’ conspiracy, HAF has suffered, or

will suffer, substantial damages, including to its reputation and ability to fundraise, in an amount

to be determined at trial.
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       54.      The above-described conduct is egregious and constitutes moral turpitude. As

such, in addition to compensatory damages, HAF demands punitive damages in an amount to be

determined at trial.

       WHEREFORE, HAF prays for relief against Defendants, jointly and severally, as

follows:

       i.       For compensatory and punitive damages according to proof;

       ii.      For preliminary and permanent injunctive relief prohibiting the publication or

                further dissemination of the defamatory statements alleged herein;

       iii.     For costs of suit; and

       iv.      For such other and further relief as the Court may deem proper.

                                         DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial.


Dated: May 7, 2021                               Respectfully submitted,

                                                 By: ______________________________
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